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                             UNITED STATES DISTRICT COURT

                       FOR THE MIDDLE DISTRICT OF LOUISIANA




  PRESS ROBINSON, EDGAR CAGE,
  DOROTHY NAIRNE, EDWIN RENÉ                        Case No. 3:22-cv-00211
  SOULÉ, ALICE WASHINGTON, CLEE
  EARNEST LOWE, DAVANTE LEWIS,
  MARTHA DAVIS, AMBROSE SIMS,
  NATIONAL ASSOCIATION FOR THE
  ADVANCEMENT OF COLORED PEOPLE
  (“NAACP”) LOUISIANA STATE
  CONFERENCE, and POWER COALITION
  FOR EQUITY AND JUSTICE,

                       Plaintiffs,

         v.

  KYLE ARDOIN, in his official capacity as
  Secretary of State for Louisiana,

                       Defendant.

  EDWARD GALMON, SR., CIARA HART,                   Civil Action: 3:22-cv-00214
  NORRIS HENDERSON, and TRAMELLE
  HOWARD,

                       Plaintiffs,

         v.

  R. KYLE ARDOIN, in his official capacity as
  Louisiana Secretary of State,

                       Defendant.




                           AFFIDAVIT OF BRENNAN BOWEN

      BEFORE ME, the undersigned authority, personally came and appeared, BRENNAN
BOWEN, who being duly first sworn, did depose and say;

   1. That I practice law at 2575 E. Camelback Road, Suite 860, Phoenix, AZ 85016. That I am

      a member in good standing with the Arizona State Bar and was admitted on May 3, 2021. I

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       am admitted to practice law in Arizona and the Ninth Circuit. That there have been no

       disciplinary proceedings or criminal charges instituted against me in any jurisdiction.

       Attached hereto as “Exhibit A” is a Certificate of Good Standing from the Supreme Court

       of Arizona.

   2. That I DO SOLEMNLY SWEAR that I will conduct myself as an attorney and counselor of

       this Court, uprightly and according to law; and that I will support the Constitution of the

       United States. I do formally swear that I have read the Federal Rules of Civil Procedure, 28

       U.S.C.; the Federal Rules of Criminal Procedure, 18 U.S.C.; Federal Rules of Evidence;

       and the Local Rules of the United States District Court for the Middle District of Louisiana,

       and I am fully prepared to use and abide by them in my practice before this Court.

   3. That the matters set forth in this Affidavit are true and correct.



I declare under penalty of perjury that the foregoing is true and correct.

Executed on July 19, 2023


/s/ Brennan Bowen
Brennan Bowen




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